                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

ALPS PROPERTY & CASUALTY                                   Case No. 4:14-cv-00002-SLG
INSURANCE COMPANY, f/k/a Attorneys
Liability Protection Society, Inc., A Risk
Retention Group,

                  Plaintiff,

       v.

MERDES & MERDES, P.C.; MERDES LAW
OFFICE, P.C.; and WARD M. MERDES,

                  Defendants.


                                         JUDGMENT

       For the reasons stated in the accompanying Order,

       Judgment is hereby entered, pursuant to Federal Rules of Civil Procedure 54(b) and 58, in

favor of Defendants Merdes & Merdes, P.C. and Ward M. Merdes with respect to ALPS’s claim

for declaratory relief regarding its duty to defend them under Lawyers Professional Liability

Insurance Policy No. ALPS3392-15 issued to Merdes & Merdes, P.C. for the policy period

July 18, 2012 to July 18, 2013, with respect to the lawsuit styled Leisnoi, Inc. v. Merdes &

Merdes, P.C., Merdes Law Office, P.C., and Ward M. Merdes, Alaska Superior Court, Case No.

3AN-13-7180CI (“Underlying Suit”). ALPS had a duty to defend Merdes & Merdes, P.C. and

Ward M. Merdes in the Underlying Suit.

       DATED this 27th day of April, 2015.



                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE
